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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


CHERYL EDWARDS and JON EDWARDS,

                            Plaintiffs,

       -against-                                Civil Action No.

MICHIGAN STATE UNIVERSITY and JOHN              COMPLAINT and
DOES 1-10,                                      JURY DEMAND

                            Defendants.



       NOW COMES Plaintiffs, by and through their attorney, Brian M. Cige, Esq., and hereby

allege the following:



       1.      Jon Edwards was a PhD candidate from 1975 to 1982 at Michigan State

University (“MSU”) studying under its Professor Harold G. Marcus (hereafter “Marcus”) in the

Department of History.

       2.      Cheryl Edwards was an undergraduate student at MSU from 1975 to 1980 and an

MSU employee thereafter.

       3.      Cheryl and Jon met at MSU.
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       4.      Plaintiffs both currently reside in the Township of Hopewell, County of Mercer

and State of New Jersey.

       5.      Marcus used his position as Jon’s advisor to control and stymie Jon’s progress

towards his degree while sexually harassing him about Cheryl, wielding that influence to

sexually harass and assault her.

       6.      This is a civil action for redress for injuries sustained by Plaintiffs as a result of

Marcus’s misconduct, all of which was enabled by MSU.

       7.      Marcus used his position of trust and confidence in an abusive manner causing

Plaintiffs to suffer a variety of injuries including shock, humiliation, emotional distress and

related physical manifestations thereof, embarrassment, loss of self-esteem, disgrace, and loss of

enjoyment of life.

       8.      In September 2016, the Indianapolis Star reported on a complaint filed with

MSU’s Police Department involving Larry Nassar. The story headline read “Former USA

Gymnastics Doctor Accused of Abuse.” The complaint included allegations that MSU had not

properly responded to claims of sexual abuse.

       9.      Following the September 2016 publication, other victims began coming forward

after recognizing that they were victims of sexual abuse occurring within a deeply flawed

institutional framework, both inside MSU’s Athletics Department and elsewhere in the university

community that condoned such behavior and empowered the bad actors.

       10.     As early as the mid-seventies, MSU representatives were made aware of rampant

sexual misconduct within the History Department yet failed to appropriately respond to

allegations, resulting in the sexual assault, abuse, and molestation of victims through

approximately 2003.
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        11.    MSU’s deliberate indifference before, during, and after the sexual harassment,

assault, abuse, and/or molestation of Plaintiffs was in violation of Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S.C. § 1983, as well as other Federal and

State laws.

        12.    MSU’s failure to properly supervise Marcus and its negligence in retaining

Marcus was in violation of Michigan common law.

        13.    MSU’s failure to act properly in investigating sexually based claims against

Marcus severely compromised the safety and health of Plaintiffs and has been devastating for

Plaintiffs and their family.

        14.    This action arises from Defendants’ blatant disregard of Plaintiffs’ federal and

state rights, and Defendants’ deliberately indifferent and unreasonable response to professor-on-

student sexual harassment, assault, abuse, molestation, and oppression.

                                JURISDICTION AND VENUE

        15.    Plaintiffs herby repeats and realleges the allegations contained in the previous

paragraphs of the Complaint and fully incorporate them as set forth in length.

        16.    Defendant MSU is in the city of East Lansing, County of Ingham and State of

Michigan, other Defendant’s principally reside as well.

        17.    This action is brought pursuant to Title IX of the Educational Amendments of

1972, 20 U.S.C. § 1681, et seq., as more fully set forth herein.

        18.    This is also an action to redress the deprivation of Plaintiffs’ constitutional rights

under the Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. §

1983.
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       19.     Subject matter jurisdiction is founded upon 28 U.S.C. § 1331, which gives

District Courts jurisdiction over all civil actions arising under the Constitution, laws, and treaties

of the United States.

       20.     Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343, which gives

District Courts original jurisdiction over any civil actions authorized by law to be brought by any

person to redress the deprivation, under color of any State Law, statute, ordinance, regulation,

custom or usage, of any right, privilege or immunity secured by the Constitution or by any Act of

Congress providing for equal rights of citizens or of all persons within the jurisdiction of the

United States, and any civil action to recover damages or to secure equitable relief under any Act

of Congress providing for the protection of civil rights.

       21.     Plaintiffs further invoke the supplemental jurisdiction of this Court, pursuant to 28

U.S.C. § 1367(a), to hear and decide claims arising under state law that are so related to the

claims within the original jurisdiction of this Court that they form part of the same case or

controversy.

       22.     The claims are cognizable under the Constitution, 42 U.S.C. § 1983, 20 U.S.C. §

1681 et seq., and under Michigan Law.

       23.     The events giving rise to this lawsuit occurred in Ingham County, Michigan and

Eaton County, Michigan both of which sit in the Southern Division of the Western District of

Michigan.

       24.     Venue is proper in the United States District Court for the District of New Jersey

pursuant to 28 U.S.C. § 1391(b)(2), in that this is the judicial district in which the injuries

resulting from the misconduct have been suffered by Plaintiffs.
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                               PARTIES AND KEY POLICIES

       25.     Plaintiffs herby repeat and reallege the allegations contained in the previous

paragraphs of the Complaint and fully incorporate them as set forth in length.

       26.     Harold G. Marcus was formerly a Professor of History, specializing in African

history at MSU from 1968 to 2003.

       27.     MSU was at all relevant times and continues to be a public university organized

and existing under the laws of the State of Michigan.

       28.     MSU has received and still receives federal financial assistance and is therefore

subject to Title IX.

       29.     At all relevant times, MSU and Marcus were acting under color of law, to wit,

under color of statutes, ordinances, regulations, policies, customs, and usages of the State of

Michigan and/or MSU itself.

       30.     MSU specifically had two policies applicable to these facts on their face: MSU’s

1971-1973 Anti-Discrimination Policy (“1971-1973 Policy”) and MSU’s 1980 Anti-

Discrimination Policy (“1980 Policy”).

       31.     The 1971-1973 and 1980 Policies both apply to the following:

               a. All educational, cultural, and social activities occurring on the Michigan State
                  University campus.
               b. University-sponsored programs occurring off-campus, including cooperative
                  extension, adult education and any regularly scheduled classes.
               c. Housing supplied or regulated by the University for students and staff,
                  including fraternities and sororities.
               d. Employment relations between the University and its employees.

       32.     Article II.A of the 1971-1973 Policy prohibits the following:

               a. Disparity of treatment in employment, job placement, promotion or other
                  economic benefits on the basis of race, creed or ethnic origin.
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               b. Limitation of access to residence, or to participation in educational, athletic,
                  social, cultural or other activities of the University because of race, creed, or
                  ethnic origin.
               c. Discrimination of the foregoing types on the basis of sex, unless based on
                  bona fide job requirements or generally accepted and socially approved
                  distinctions in housing, sanitary facilities, athletics and similar facilities or
                  activities.
               d. Harassment based on race, creed, ethnic origin, or sex.

       33.     Article II.A of the 1980 Policy prohibits the following:

               a. Disparity of treatment in employment, job placement, promotion or other
                  economic benefits on the basis of race, creed, ethnic origin, sex, age, political
                  persuasion or sexual preference.
               b. Limitation of access to residence, or to participation in educational, athletic,
                  social, cultural or other activities of the University because of race, creed,
                  ethnic origin, sex, age, political persuasion or sexual preference.
               c. Harassment based on race, creed, ethnic origin, sex, age, political persuasion
                  or sexual preference.

       34.      At all relevant times, Marcus was acting in the scope of his employment or

agency with MSU as one of its tenured Professor.

       35.     As part of Marcus’s employment and contractual duties with MSU, Marcus was

to instruct doctoral and post-doctoral students in pursuit of advanced degrees, such as Plaintiffs.

             SPECIFIC FACTUAL ALLEGATIONS AS TO CHERYL EDWARDS

       36.     Plaintiffs herby repeat and reallege the allegations contained in the previous

paragraphs of the Complaint and fully incorporate them as set forth in length.

       37.     In 1975, Marcus was a respected professor of African History at MSU

specializing in Ethiopia.

       38.     During the relevant time period, Marcus in appropriately and illegally repeatedly

bragged of his sexual exploits, questioned Jon routinely about his sex life, and made lascivious

comments regarding Cheryl and other women students to Jon.
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        39.        Unbeknownst to Jon, at that time, during this same time frame, Marcus sexually

assaulted, abused, and molested Cheryl by engaging in nonconsensual sexual touching, assault,

and harassment.

        40.        Marcus began paying attention to Cheryl in 1976 when she enrolled in African

Studies as a minor during her undergraduate program as she was interested in East Africa and

took a course with Marcus.

        41.        Cheryl was raised in a traditional Catholic household and had little sexual

experience by this time. By contrast, in Cheryl’s eyes, Marcus was worldly and exuded sexuality

in his lectures.

        42.        Marcus seemed to want to be a mentor to Cheryl and paid an increasing amount

of attention to her. Cheryl originally attributed this to her being a good student and to Marcus

believing that she would make a good graduate student in this field.

        43.        As time went on, however, Marcus began commenting on Cheryl’ clothing. And

initiated physical contact, occasionally tapping or grabbing her shoulder.

        44.        Marcus ratcheted up his attentions dramatically during one of Cheryl’s visits to

Marcus’s office during office hours, perhaps during her junior year. Cheryl had visited Marcus’s

office multiple times before. On this occasion she planned to speak with him regarding the topic

of a research assignment.

        45.        Marcus’s office was in Morrill Hall. It was located well in the rear of the

building and somewhat isolated.

        46.        After Cheryl arrived at Marcus’s office, Marcus told her he wanted to show her a

book, drawing her further into the office. Marcus then closed the door behind her. Quickly,
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Marcus grabbed Cheryl, kissed her, groped her and exposed his genitals while pushing her

against a wall. Marcus said, “I really want to have sex with you.”

       47.     Initially, Cheryl froze as she did not know what to do. She thought she would

vomit. Because of her Catholic upbringing, it crossed her mind instantly that she had committed

some sin and wondered what she had done to motivate Marcus to do this to her.

       48.     Cheryl told Marcus “no” and repeatedly told him she needed to leave. She then

walked out of his office.

       49.     Cheryl felt petrified and was traumatized, for a while, blamed herself for the

incident. She decided to do her best to put these incidents behind her.

       50.     After some time passed, Marcus began calling Cheryl and saying things like,

“Please come over. I’d like to have sex with you.” This happened several times.

       51.     Cheryl worried that her grades might depend on whether she had sex with

Marcus, but she continued rebuffing his advances. Cheryl began experiencing anxiety and

suffering from panic attacks because of Marcus’s misconduct and subsequent interactions. She

sought counseling and may have experienced Post-Traumatic Stress Disorder as a result of

Marcus misconduct.

       52.     Cheryl subsequently met Jon, and the two began a relationship. They did not talk

to anyone about their relationship, as she did not want their relationship to be an “issue” for

Marcus or the subject of gossip within the department.

       53.     Eventually, Marcus began making comments to Cheryl such as, “Oh, you’re

going to see your boyfriend. I hope he’s satisfying you” and “I hope he’s better than we would

have been together.”
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       54.     After Cheryl and Jon were married on 13 September 1980, the two went to

Europe for approximately 1.5 years to conduct field work. While Cheryl’s anxiety was getting

worse, she did not want to say anything to Jon because Marcus was still his advisor.

       55.     On one occasion, Marcus appeared at the Public Record Office in London, where

Cheryl was assisting in Jon’s Ph.D. research. He said to Cheryl, “I guess I don’t have to ask you

how your sex life is anymore.” Cheryl had a horrible panic attack later that night.

       56.     After Cheryl and Jon returned to MSU in 1984, Cheryl began working as an MSU

employee in the library with Richard Chapin, Ph.D. Dr. Chapin was the Director of Libraries at

MSU from 1959 through 1988. He passed away in 2009.

       57.     At some point, Dr. Chapin began showing Cheryl centerfolds of pornographic

magazines, asking her and other female staff members if they had seen the new edition for the

month, and inquiring whether they had tried certain sexual positions with their significant others.

       58.     When Cheryl reported Dr. Chapin’s behavior to her supervisor, she was told that

if she wanted to keep her job, she should not bring this up again.

       59.     Based on the conversation with her supervisor, Cheryl believed that she was not

the only one who had complained about Dr. Chapin.

       60.     Dr. Chapin’s misconduct caused Cheryl’s anxiety and panic attacks to worsen.

       61.     Meanwhile, Cheryl continued to have problems with Marcus, with whom her

husband continued to work.
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               SPECIFIC FACTUAL ALLEGATIONS AS TO JON EDWARDS

         62.   Plaintiffs herby repeat and reallege the allegations contained in the previous

paragraphs and fully incorporate them as set forth in length.

         63.   Jon began his graduate studies in African History at MSU in 1975. He chose

MSU after being offered a “National Defense Foreign Language Grant” and because several

faculty members had research interests in Ethiopia, where Jon had spent time.

         64.   From virtually the moment Jon set foot on MSU’s campus, Marcus confronted

him to a barrage of sexually charged questions and comments and other sexually laden

conversations. Within minutes of meeting Jon for the first time, Marcus asked “how is your sex

life?”

         65.   As part of his course of instruction, Jon was required to attend office hours with

Marcus once a month. During nearly every visit, Marcus would start by asking Jon about his

dating life and would then proceed to tell Jon about his own “conquests.” During one such

conversation, Marcus told Jon about techniques he used during oral sex.

         66.   Jon was trapped during these conversations in Marcus’s office. As his advisor,

Marcus had immense power over Jon’s life. Jon considered and then rejected the idea of

complaining to other faculty members in the department, worried about the consequences.

         67.   After one of Marcus’s long-term relationships ended, Marcus lost weight and

began encouraging female students to attend his graduate seminars. Marcus seemingly viewed

MSU as his own sexual playground and did not care if girls were old, young, black or white.

Marcus pursued them all.

         68.   Marcus regularly hosted parties for his students. The parties included students and

whomever Marcus was in a relationship with at the time, typically between 30 and 50 people
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total. Marcus often invited all the graduate students from the History Department to his parties,

as well as female undergraduate students from the department. Marcus was always looking for

sexual encounters and regularly invited young, attractive and naïve female students to his parties.

       69.     During one of these parties, Marcus asked Jon to tell him about a female friend of

his. Marcus commented, “I just had my hand down her pants in her pussy.”

       70.     Jon attended a party with Marcus in Sweden, where many young Swedish girls

were working. Marcus tried to invite each of the young women to go back to his hotel. Marcus’s

advances included very publicly touching the women in cringe-worthy fashion.

       71.     Jon originally attended Marcus’s parties because he thought it was an obligation.

He began, however, to attend less and less. As it happened, Jon’s first social interaction with

Cheryl occurred at one of Marcus’s parties.

       72.     While Jon was at MSU, a female Japanese faculty member sued Marcus for

sexual harassment.

       73.     A lawsuit was filed in the Circuit Court for Ingham County, Michigan in

November 1987 by Atsuko Hirai, Ph.D., a female Japanese faculty member, against [Marcus

and] MSU (the “Hirai Lawsuit”).

                                    MSU’S MISCONDUCT

       74.     Plaintiffs herby repeat and reallege the allegations contained in the previous

paragraphs of the Complaint and fully incorporate them as set forth in length.

       75.     In the mid-70s, it was well-known within the University community that the

History Department, housed in Morrill Hall, was a hotbed of sexual activity involving professors

and their students. At least one former wife of Marcus’s called the building “Immoral Hall”.
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        76.       No later than 1987, MSU was put on notice of predatory misconduct in the

History Department by the Hirai Lawsuit.

        77.       Despite the Hirai Lawsuit and other complaints to MSU employees, agents, and

representatives, the concerns and allegations regarding inappropriate sexual behavior went

unaddressed in violation of reporting policies and procedures and Title IX and in a manner that

was reckless, deliberately indifferent, and grossly negligent.

        78.       Because MSU took no action to investigate these complaints and took no

corrective action, Marcus’s misconduct, among others, continued unchecked.

        79.       In 2014, following receipt of an unrelated complaint regarding a sexual assault on

MSU’s campus, between 2014 and 2015 the U.S. Department of Education’s Office of Civil

Rights (hereinafter “OCR”) conducted an investigation regarding those allegations, another

complaint regarding sexual assault and retaliation from 2011, and MSU’s response to said

complaints, and their general policies, practices, and customs pertaining to their responsibilities

under Title IX.

        80.       The OCR concluded their investigation in 2015 and presented MSU with a

twenty-one-page agreement containing measures and requirements to resolve the 2011 and 2014

complaints and to bring MSU in compliance with Title IX.

        81.       The OCR implicitly determined that, prior to 2015, MSU had not been in

compliance with Title IX.

        82.       The Edwards filed their complaint regarding Marcus’s behavior on February 26,

2018.

        83.       Upon information and belief, MSU investigated the Edwards’ complaint through

their Office of Institutional Equity (“OIE”).
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       84.     OIE opened and closed its investigation into the Edwards’ complaint on the same

day.

       85.     On information and belief MSU retained the services of Kroll Associates, Inc.

which conducted an investigation and confirmed that allegations made by Plaintiff.

       86.     It’s final investigation report dated 12 June 2019 Kroll concluded in its Summary

of Findings as follows: After investigation and review of available evidence, Kroll finds a

preponderance of the evidence supports that Respondent sexually harassed Claimant J. Edwards

in violation of the 1971-1973 Policy and the 1980 Policy, with guidance from the current RVSM.

The evidence established that Respondent engaged in unwelcome behavior of a sexual nature;

specifically, Respondent made a series of unwelcome and persistent sexually explicit statements

or stories that were not legitimately related to his employment duties, course content, research, or

other University programs or activities. As to Claimant C. Edwards, we find a preponderance of

the evidence supports that Respondent violated the 1971-1973 Policy by making sexual advances

towards Claimant C. Edwards against her will and repeatedly directing sexually inappropriate

comments towards her while she was an undergraduate student at MSU.

                                          COUNT ONE

                VIOLATIONS OF TITLE IX AS TO CHERYL EDWARDS
                            20 U.S.C. §1681(a), et seq.

       87.     Plaintiffs herby repeat and reallege the allegations contained in the previous

paragraphs of the Complaint and fully incorporate them as set forth in length.

       88.     Title IX’s statutory language states, “No person in the United States shall on the

basis of sex, be … subject to discrimination under any education program or activity receiving

Federal financial assistance.”

       89.     Plaintiffs are “persons” under the Title IX statutory language.
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       90.       MSU receives federal financial assistance for its education program and is

therefore subject to the provisions of Title IX.

       91.       MSU is required under Title IX to investigate allegations of sexual assault, sexual

abuse, and sexual harassment.

       92.       The U.S. Department of Education’s Office of Civil Rights has explained that

Title IX covers all programs of a school, and extends to sexual harassment and assault by

employees, students and third parties.

       93.       Marcus’s actions and misconduct were carried out under the banner of MSU’s

educational activities.

       94.       Marcus’s misconduct and actions toward Cheryl and Jon constitutes sex

discrimination under Title IX.

       95.       MSU failed to carry out their duties to investigate and take corrective action under

Title IX following the complaints of sexual assault, abuse, and molestation.

       96.       MSU failed to adequately supervise or otherwise ensure Marcus complied with

the newly imposed institutional guidelines even though MSU had actual knowledge that Marcus

posed a substantial risk of additional sexual abuse of the females whom he had unfettered access.

       97.       MSU acted with deliberate indifference to known acts of sexual assault, abuse,

and molestation on its premises by failing to investigate and address the prior allegations as

required by Title IX; and by failing to institute corrective measures to prevent Marcus from

violating and sexually abusing other students and individuals.

       98.       MSU acted with deliberate indifference as its lack of response to the allegations

of sexual assault, abuse, and molestation was clearly unreasonable in light of the known

circumstances.
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       99.     MSU’ deliberate indifference was confirmed by the Department of Education’s

investigation into MSU’s handling of sexual assault and relationship violence allegations which

revealed:

               a. That a sexually hostile environment existed and affected numerous students

                   and staff on MSU’s campus; and

               b. That MSU’s failure to address complaints of sexual harassment, including

                   sexual violence in a prompt and equitable manner caused and may have

                   contributed to a continuation of the sexually hostile environment.

       100.    MSU’s responses were clearly unreasonable as Marcus continued to sexually

assault individuals until he retired from MSU.

       101.    Between 1976 and 20--, MSU acted in a deliberately indifferent, grossly

negligent, and/or reckless manner when they failed to reasonably respond to Marcus’s sexual

assaults and sex-based harassment of Plaintiffs on and off school premises.

       102.    MSU’ failure to promptly and appropriately investigate and remedy and respond

to the sexual assaults after they received repeated notice of Marcus’s wrongdoing subjected

Plaintiffs and countless others to further sexual harassment and sexual assaults as well as a

sexually hostile environment—effectively denying them all access to educational opportunities at

MSU.

       103.     As a direct and/or proximate result of MSU’s actions and/or inactions, Plaintiffs

have suffered and continue to suffer pain and suffering, pain of mind and body, [pregnancy and

miscarriage and sequelae thereto,] shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

trauma, loss of enjoyment of life, post-traumatic stress disorder resulting in physically
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manifested injuries including [anxiety, depressions, sleep disorders, nightmares, psychological

injuries, and physical injuries]. Plaintiffs were prevented and will continue to be prevented from

performing their daily activities and obtaining the full enjoyment of life and have sustained and

continue to sustain loss of earnings and earning capacity.

       104.    In the alternative, the actions or inaction of MSU was deliberately indifferent or

so reckless as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs’ damages.

Plaintiffs have suffered and continue to suffer the injuries detailed above.

       WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                      COUNT TWO

               VIOLATIONS OF TITLE IX AS TO JON EDWARDS
                          20 U.S.C. §1681(a), et seq.

       105.    Plaintiffs herby repeat and reallege the allegations contained in Count One of the

Complaint and fully incorporate them as set forth in length.

       106.    Marcus’s misconduct and actions toward Jon constitutes sex discrimination under

Title IX.

       107.    Further Marcus, on behalf of MSU, and MSU, wrongfully denied the awarding

 his successfully defended Ph.D., subsequently awared in August 2019, back dated to 19 June

 1988 and a hard copy personally delivered by Dean Thomas Jeischko to Jon at his residence on

 13 October 2019 and acknowledgement of its continuing oppression of Jon and to coerce

 Cheryl.
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       WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

 Defendants, Michigan State University and others to be identified, for compensatory damages,

 punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs

 of suit, and such other relief determined just and equitable by the Court.

                                         COUNT THREE

                               VIOLATION OF CIVIL RIGHTS
                                     42 U.S.C. § 1983

       108.    Plaintiffs herby repeat and reallege the allegations contained in Count Two of the

Complaint and fully incorporate them as set forth in length.

       109.    Cheryl, as a female, is a member of a protected class under the Equal Protection

Clause of the Fourteenth Amendment to the United States Constitution.

       110.    Cheryl also enjoys the constitutionally protected substantive due process right to

be free from the invasion of bodily integrity through rape, sexual assault, abuse, or molestation

under the Fourteenth Amendment to the United States Constitution.

       111.    At all relevant times, Marcus was acting under color of law, to wit, under color of

statutes, ordinances, regulations, policies, customs, and usages of the State of Michigan and/or

MSU.

       112.    The acts as alleged above amount to a violation of these clearly established

constitutionally protected rights, including the right to be free from sexual assault, of which

reasonable persons in their positions should have known.

       113.    At all relevant times, MSU employees had the ultimate responsibility and

authority to train and supervise their employees, agents, and/or representatives, in the appropriate

manner of detecting, reporting, and preventing sexual abuse, assault, and molestation and as a

matter of acts, custom, policy, and/or practice, failed to do so with deliberate indifference.
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        114.    At all relevant times, certain MSU employees as of yet unknown acted in a

supervisory role to Marcus through their roles at MSU’s College of Liberal Arts and other

affiliated MSU departments or institutions.

        115.    At all relevant times, MSU had a policy requiring MSU employees to

immediately report suspected child abuse, sexual assault and child pornography.

        116.    Ultimately these supervisory MSU employees failed to adequately and properly

investigate the complaints of Plaintiff or other similarly situated individuals including but not

limited to failing to:

        WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                         COUNT FOUR

                           FAILURE TO TRAIN AND SUPERVISE
                                    42 U.S.C. § 1983

        117.    Plaintiffs herby repeat and rellage the allegations contained in Count Three of the

Complaint and fully incorporate them as set forth in length.

        118.    Many different MSU supervisory employees have the ultimate responsibility and

authority to train and supervise their employees, agents, and/or representatives, including

Marcus, and all faculty and staff regarding their duties toward students.

        119.    Those employees, as of yet unknown to Plaintiffs, failed to adequately train

faculty and staff, including Marcus, regarding the aforementioned duties which led to violations

of Plaintiffs’ rights.
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       120.    As a result, those same employees deprived Plaintiffs of rights secured by the

Fourteenth Amendment to the United States Constitution in violation of 42 U.S.C. § 1983.

       121.    As a direct and/or proximate result of those same employees’ actions and/or

inactions, Plaintiffs suffered and continue to suffer pain and suffering.

       WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                          COUNT FIVE

                SEXUAL ASSAULT & BATTERY OF CHERYL EDWARDS

       122.    Plaintiffs herby repeat and rellage the allegations contained in Count Four of the

Complaint and fully incorporate them as set forth in length.

       123.    The acts committed by Marcus against Cheryl described herein constitute assault

and battery, actionable under the laws of Michigan.

       124.    Marcus committed nonconsensual sexual acts which resulted in harmful or

offensive contact with Cheryl’s body.

       125.    Specifically, Marcus committed acts which caused injury to Cheryl by subjecting

her to an imminent battery and/or intentional invasions of her right to be free from offensive and

harmful contact, and said misconduct demonstrated that Marcus had a present ability to subject

Plaintiff to an immediate, intentional, offensive and harmful touching.

       126.    Marcus assaulted and battered Plaintiff by his misconduct.

Plaintiffs have been damaged thereby.
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       WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                            COUNT SIX

     VIOLATIONS OF THE ELLIOT-LARSEN CIVIL RIGHTS ACT, MCL 37.2101

       127.    Plaintiffs herby repeat and reallage the allegations contained in Count Five of the

Complaint and fully incorporate them as set forth in length.

       128.    The Elliot-Larsen Civil Rights Act (“Elliot-Larsen”) prohibits discrimination

based on sex. MCL 37.2102.

       129.    “Discrimination because of sex includes sexual harassment.” MCL 37.2.103(i).

       130.    “Sexual harassment means unwelcome sexual advances, requests for sexual

favors, and other verbal or physical conduct or communication of a sexual nature.” MCL

37.2103(i).

       131.    Elliot-Larsen protects against sexual harassment in educational institutions. An

educational institution shall not “discriminate against an individual in the full utilization of or

benefit from the institution, or the services, activities, or programs provided by the institution

because of . . . sex.” MCL 37.2401(a) (emphasis added).

       132.    MSU is an educational institution pursuant to MCL 37.2401.

       133.    Elliot-Larsen also protects against sexual harassment in places of public

accommodation. MCL 37.2302. Under this section, an individual shall not be denied “full and

equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

a place of public accommodation or public service because of . . . sex.” MCL37.2302(a).
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        134.    MSU is a “place of public accommodation” because its “services, facilities,

privileges, advantages, or accommodations are extended, offered, sold, or otherwise made

available to the public.” MCL 37.2301(a).

        135.    Plaintiffs are “persons” within the meaning of MCL 37.2103(g).

        136.    Marcus’s misconduct was carried out under the auspices of MSU’s educational

program.

        137.    Marcus’s misconduct toward Plaintiffs denied each the full and equal enjoyment

of MSU’s services at a place of public accommodation, in violation of Elliot-Larson.

        138.    Marcus’s misconduct toward each Plaintiff, of nonconsensual sexual contact

and/or verbal harassment, constitute sex discrimination under Elliot-Larsen.

        139.    As a direct and/or proximate result of MSU’s actions and/or inactions, Plaintiffs

have experienced and continue to experience pain and suffering [expand].

        WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                         COUNT SEVEN

                                     GROSS NEGLIGENCE
                                     M.C.L. § 600.1407(2)(c)

        140.    Plaintiff herby repeat and reallage the allegations contained in Count Six of the

                Complaint and fully incorporate them as set forth in length.

        141.    MSU’s misconduct demonstrated a willful disregard for precautions to ensure

Plaintiffs’ safety.
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        142.    MSU’s misconduct demonstrated a willful disregard for substantial risks to

Plaintiff.

        143.    MSU breached duties owed to Plaintiff and was grossly negligent when Marcus’s

behavior went unchecked.

        144.    Plaintiffs have been damaged thereby.

        WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                                              COUNT EIGHT

                              PER QUOD FOR JON EDWARDS

        145.    Plaintiffs herby repeat and rellage the allegations contained in Count Seven of the

Complaint and fully incorporate them as set forth in length.

        146.    Plaintiff Jon Edwards is the lawful spouse of Plaintiff Cheryl Edwards and has

been for all times relevant to this action.

        147.    Plaintiff Jon Edwards was caused suffer a loss of society, consortium,

companionship and otherwise directly damaged, per quod, when Plaintiff Cheryl Edwards was

assaulted and continues to be injured.

        WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.
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                                              COUNT NINE

                              PER QUOD FOR CHERYL EDWARDS

        148.    Plaintiffs herby repeat and rellage the allegations contained in Count Eight of the

Complaint and fully incorporate them as set forth in length.

        149.    Plaintiff Cheryl Edwards is the lawful spouse of Plaintiff Jon Edwards and has

been for all times relevant to this action.

        150.    Plaintiff Cheryl Edwards was caused suffer a loss of society, consortium,

companionship and otherwise directly damaged, per quod, when Plaintiff Jon Edwards was

harassed.

        WHEREFORE, Plaintiffs, Cheryl and Jon Edwards demand judgment against

Defendants, Michigan State University and others to be identified, for compensatory damages,

punitive damages, plus pre-judgment interest, post-judgment interest, attorney’s fees and costs of

suit, and such other relief determined just and equitable by the Court.

                          DAMAGES AS FOR CHERYL EDWARDS

        151.    Plaintiffs reallege and incorporate by reference the allegations contained in the

Count Nine of the Complaint and fully incorporate them as set forth in length.

        152.    As a direct and/or proximate result of Defendants’ misconduct, actions, or

inactions, Plaintiff has suffered and continues to suffer pain and suffering, [pregnancy and

miscarriage and sequelae thereto], pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

manifested injuries including anxiety, depressions, sleep disorders, nightmares, psychological

injuries, and physical injuries. Plaintiffs were prevented and will continue to be prevented from
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performing Plaintiff’s daily activities and obtaining the full enjoyment of life, and have sustained

and continue to sustain loss of earnings and earning capacity.

        153.    The misconduct, actions and/or inactions of Defendants as alleged in the above

stated counts and causes of action constitute violations of Plaintiff’s Constitutional and Federal

rights as well as the common and/or statutory laws of the State of Michigan, and the United

States District Court has jurisdiction to hear and adjudicate said claims.

        154.    In whole or in part, as a result of some or all of the above actions and/or inactions

of Defendants, Plaintiffs have and continue to suffer irreparable harm as a result of the

violations.

                              DAMAGES AS FOR JON EDWARDS

        155.    Plaintiffs herby repeat and reallage the allegations contained in Count Nine of the

Complaint and fully incorporate them as set forth in length.

        156.    The amount in controversy for each Plaintiff well exceeds the jurisdictional

minimum of $75,000.00.

        WHEREFORE, Plaintiffs requests this Court for Judgment in their favor against all

named Defendants on all counts and claims as indicated above in an amount consistent with the

proofs of trial, and seeks against Defendants all appropriate damages arising out of law, equity,

and fact for each or all of the above counts where applicable and hereby requests that the trier of

fact, be it judge or jury, award Plaintiff all applicable damages, including but not limited to

compensatory, special, exemplary and/or punitive damages, in whatever amount the Plaintiff is

entitled, and all other relief arising out of law, equity, and fact, also including but not limited to:

        a)      Compensatory damages in an amount to be determined as fair and just under the

circumstances, by the trier of fact including, but not limited to medical expenses, loss of
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earnings, mental anguish, anxiety, humiliation, and embarrassment, violation of Plaintiff’s

Constitutional, Federal, and State rights, loss of social pleasure and enjoyment, and other

damages to be proved;



          b)    Punitive and/or exemplary damages in an amount to be determined as reasonable

 or just by the trier of fact;

          c)    Reasonable attorney fees, interest, and costs; and,

          d)    Other declaratory, equitable, and/or injunctive relief, including, but not limited to

implementation of institutional reform and measures of accountability to ensure the safety and

protection of students as appears to be reasonable and just.

                                         JURY DEMAND

          Plaintiffs, CHERYL EDWARDS and JON EDWARDS, demand a trial by jury as to all

issues.



Dated: February 26, 2020

                                                       Respectfully submitted,

                                                       BRIAN M. CIGE, ESQ.

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